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             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION

JANE DOE 1,

                      Plaintiff,            CIVIL ACTION FILE
v.
                                            NO. 1:19-cv-03840-WMR
ESSEX, LLC, et al.,

                      Defendants.
JANE DOE 2,

                      Plaintiff,            CIVIL ACTION FILE
v.
                                            NO. 1:19-cv-03841-WMR
ESSEX, LLC, et al.,

                      Defendants.
JANE DOE 3,

                      Plaintiff,            CIVIL ACTION FILE
v.
                                            NO. 1:19-cv-03843-WMR
ESSEX, LLC, et al.,

                      Defendants.
JANE DOE 4,

                      Plaintiff,            CIVIL ACTION FILE
v.
                                            NO. 1:19-cv-03845-WMR
ESSEX, LLC, et al.,

                      Defendants.



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NOTICE OF SUBPOENA FOR DEPOSITION TO PATRICIA ALDRIDGE

      PLEASE TAKE NOTICE, pursuant to Federal Rules of Civil Procedure 45,

that Defendant Essex, LLC (“Essex”) intends to serve a Subpoena for Deposition

and for production of documents at deposition, in the form attached hereto as Exhibit

A, upon Patricia Aldridge on or about January 25, 2023, or as soon thereafter as

service may be effectuated.

      Respectfully submitted, this 25th day of January, 2023.

                                       s/ Emily C. Ward
                                       Anthony L. Cochran
                                       Georgia Bar No. 172425
                                       Emily C. Ward
                                       Georgia Bar No. 500999
                                       Krista Kowalczyk
                                       Georgia Bar No. 264003
                                       SMITH, GAMBRELL & RUSSELL, LLP
                                       1105 West Peachtree Street, NE, Suite 1000
                                       Atlanta, Georgia 30309
                                       (404) 815-3799 (Mr. Cochran-office)
                                       (404) 685-7099 (Mr. Cochran-fax)
                                       (404) 815-3575 (Ms. Ward-office)
                                       (404) 685-6875 (Ms. Ward-fax)
                                       acochran@sgrlaw.com
                                       eward@sgrlaw.com
                                       kkowalczyk@sgrlaw.com

                                       Attorneys for Defendant Essex, LLC




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               EXHIBIT A




                                                         EXHIBIT A
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AO 88A (Rev. /) Subpoena to Testify at a Deposition in a Civil Action


                                        UNITED STATES DISTRICT COURT
                                                                            for the
                                                           Northern District of Georgia

                        JANE DOES 1-4                                          )
                               Plaintiff                                       )
                                  v.                                           )      Civil Action No.      1:19-cv-03840, 41, 43, 45-WMR
                       ESSEX, LLC, et al.                                      )
                                                                               )
                              Defendant                                        )

                             SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

 To:                                   Patricia Aldridge,

                                                       (Name of person to whom this subpoena is directed)

       ✔
       u 7HVWLPRQ\   <28 $5( &200$1'(' WR DSSHDU DW WKH WLPH GDWH DQG SODFH VHW IRUWK EHORZ WR WHVWLI\ DW D
GHSRVLWLRQ WR EH WDNHQ LQ WKLV FLYLO DFWLRQ ,I \RX DUH DQ RUJDQL]DWLRQ \RX PXVW SURPSWO\ FRQIHU LQ JRRG IDLWK ZLWK WKH
SDUW\ VHUYLQJ WKLV VXESRHQD DERXW WKH IROORZLQJ PDWWHUV RU WKRVH VHW IRUWK LQ DQ DWWDFKPHQW DQG \RX PXVW GHVLJQDWH RQH
RU PRUH RIILFHUV GLUHFWRUV RU PDQDJLQJ DJHQWV RU GHVLJQDWH RWKHU SHUVRQV ZKR FRQVHQW WR WHVWLI\ RQ \RXU EHKDOI DERXW
WKHVH PDWWHUV

 Place: Smith, Gambrell & Russell, LLP                                                 Date and Time:
           1105 West Peachtree Street, NE, Suite 1000                                                    01/30/2023 10:00 am
           Atlanta, Georgia 30309

          The deposition will be recorded by this method:                     Stenographic and video

       ✔
       u Production:    You, or your representatives, must also bring with you to the deposition the following documents,
          electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
          material: Any and all documents concerning your Affidavit dated January 17, 2023, including but not limited to
                       communications, email or otherwise, regarding the Affidavit, drafts of the Affidavit, and any
                       documents or other records supporting your Affidavit or which you reviewed in connection with
                       preparing your Affidavit.


       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        01/25/2023
                                   CLERK OF COURT
                                                                                         OR
                                                                                                               s/ Emily C. Ward
                                           Signature of Clerk or Deputy Clerk                                  Attorney’s signature

The name, address, e-mail address, and telephone number of the attorney representing (name of party)     Essex, LLC
                                                                        , who issues or requests this subpoena, are:
Emily C. Ward, 1105 West Peachtree Street, NE, Suite 1000, Atlanta, GA 30309; eward@sgrlaw.com; (404) 815-3575

                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88A (Rev. 2/) Subpoena to Testify at a Deposition in a Civil Action (Page 2)

Civil Action No. 1:19-cv-03840, 41, 43, 45-WMR

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          I received this subpoena for (name of individual and title, if any)
on (date)                       .

          u I served the subpoena by delivering a copy to the named individual as follows:


                                                                                     on (date)                     ; or

          u I returned the subpoena unexecuted because:
                                                                                                                                 .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                        .

My fees are $                                      for travel and $                      for services, for a total of $   0.00   .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                            Server’s signature



                                                                                          Printed name and title




                                                                                             Server’s address

Additional information regarding attempted service, etc.:
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AO 88A (Rev. 2/) Subpoena to Testify at a Deposition in a Civil Action (Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                 (i) disclosing a trade secret or other confidential research, development,
                                                                                   or commercial information; or
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                     (ii) disclosing an unretained expert’s opinion or information that does
person to attend a trial, hearing, or deposition only as follows:                  not describe specific occurrences in dispute and results from the expert’s
   (A) within 100 miles of where the person resides, is employed, or               study that was not requested by a party.
regularly transacts business in person; or                                            (C) Specifying Conditions as an Alternative. In the circumstances
   (B) within the state where the person resides, is employed, or regularly        described in Rule 45(d)(3)(B), the court may, instead of quashing or
transacts business in person, if the person                                        modifying a subpoena, order appearance or production under specified
      (i) is a party or a party’s officer; or                                      conditions if the serving party:
      (ii) is commanded to attend a trial and would not incur substantial               (i) shows a substantial need for the testimony or material that cannot be
expense.                                                                           otherwise met without undue hardship; and
                                                                                        (ii) ensures that the subpoenaed person will be reasonably compensated.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or              (e) Duties in Responding to a Subpoena.
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and                             (1) Producing Documents or Electronically Stored Information. These
   (B) inspection of premises at the premises to be inspected.                     procedures apply to producing documents or electronically stored
                                                                                   information:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                           (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              must organize and label them to correspond to the categories in the demand.
responsible for issuing and serving a subpoena must take reasonable steps             (B) Form for Producing Electronically Stored Information Not Specified.
to avoid imposing undue burden or expense on a person subject to the               If a subpoena does not specify a form for producing electronically stored
subpoena. The court for the district where compliance is required must             information, the person responding must produce it in a form or forms in
enforce this duty and impose an appropriate sanction—which may include             which it is ordinarily maintained or in a reasonably usable form or forms.
lost earnings and reasonable attorney’s fees—on a party or attorney who               (C) Electronically Stored Information Produced in Only One Form. The
fails to comply.                                                                   person responding need not produce the same electronically stored
                                                                                   information in more than one form.
 (2) Command to Produce Materials or Permit Inspection.                               (D) Inaccessible Electronically Stored Information. The person
   (A) Appearance Not Required. A person commanded to produce                      responding need not provide discovery of electronically stored information
documents, electronically stored information, or tangible things, or to            from sources that the person identifies as not reasonably accessible because
permit the inspection of premises, need not appear in person at the place of       of undue burden or cost. On motion to compel discovery or for a protective
production or inspection unless also commanded to appear for a deposition,         order, the person responding must show that the information is not
hearing, or trial.                                                                 reasonably accessible because of undue burden or cost. If that showing is
   (B) Objections. A person commanded to produce documents or tangible             made, the court may nonetheless order discovery from such sources if the
things or to permit inspection may serve on the party or attorney designated       requesting party shows good cause, considering the limitations of Rule
in the subpoena a written objection to inspecting, copying, testing, or            26(b)(2)(C). The court may specify conditions for the discovery.
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.        (2) Claiming Privilege or Protection.
The objection must be served before the earlier of the time specified for            (A) Information Withheld. A person withholding subpoenaed information
compliance or 14 days after the subpoena is served. If an objection is made,       under a claim that it is privileged or subject to protection as trial-preparation
the following rules apply:                                                         material must:
     (i) At any time, on notice to the commanded person, the serving party              (i) expressly make the claim; and
may move the court for the district where compliance is required for an                 (ii) describe the nature of the withheld documents, communications, or
order compelling production or inspection.                                         tangible things in a manner that, without revealing information itself
     (ii) These acts may be required only as directed in the order, and the        privileged or protected, will enable the parties to assess the claim.
order must protect a person who is neither a party nor a party’s officer from        (B) Information Produced. If information produced in response to a
significant expense resulting from compliance.                                     subpoena is subject to a claim of privilege or of protection as
                                                                                   trial-preparation material, the person making the claim may notify any party
 (3) Quashing or Modifying a Subpoena.                                             that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
  (A) When Required. On timely motion, the court for the district where            information and any copies it has; must not use or disclose the information
compliance is required must quash or modify a subpoena that:                       until the claim is resolved; must take reasonable steps to retrieve the
                                                                                   information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
                                                                                   subpoena or an order related to it.


                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                           CERTIFICATE OF SERVICE

      I hereby certify that on January 25, 2023, I electronically filed the foregoing

Notice of Subpoena for Deposition to Patricia Aldridge with the Clerk of Court

using the CM/CF system, which will automatically send email notification of such

filing to all counsel of record.


                                          s/ Emily C. Ward
                                          Emily C. Ward
                                          Georgia Bar No. 500999
                                          SMITH, GAMBRELL & RUSSELL, LLP
                                          1105 West Peachtree Street, NE
                                          Suite 1000
                                          Atlanta, Georgia 30309
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                                          (404) 685-6875 (facsimile)
                                          eward@sgrlaw.com




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